Case 2:22-cv-00232-JRG Document 1-7 Filed 06/24/22 Page 1 of 4 PageID #: 653




          EXHIBIT G
Case 2:22-cv-00232-JRG Document 1-7 Filed 06/24/22 Page 2 of 4 PageID #: 654




        Comparison of U.S. Patent No. 10,971,706 to the CosMX CA3862E1 Battery Cell

                   Claim 1                           CosMX CA3862E1 Battery Cell
 An electrode assembly, comprising:          The CA3862E1 battery cell is a lithium-ion
                                             battery comprising an electrode assembly.




 a cell; and                                 The CA3862E1 is a battery cell.




10660-00001/13411604.1
Case 2:22-cv-00232-JRG Document 1-7 Filed 06/24/22 Page 3 of 4 PageID #: 655




 a protective layer;                             The CA3862E1 battery cell has a protective layer
                                                 (blue in color).




 wherein the cell comprises a cell body and an   The CA3862E1 battery cell has a cell body and
 electrode tab protruding from the cell body;    an electrode tab protruding from the cell body
                                                 (see images above).

 wherein in a height direction of the cell, at   The protective layer of the CA3862E1 battery
 least one end of the protective layer extends   cell extends in a height direction beyond an
 beyond an anode electrode and the extended      anode electrode by no approximately 1 mm.
 dimension is no more than 3 mm;




 and wherein the protective layer comprises a    A cross section of the protective layer of the
 first binding sub-layer and an isolation sub-   CA3862E1 battery cell shows it has a first
 layer which are laminated, and the protective   binding sub-layer and an isolation sub-layer that
 layer is bound to the cell through the first    are laminated. The protective layer is bound to
 binding sub-layer.                              the cell through the first binding sub-layer.




10660-00001/13411604.1
Case 2:22-cv-00232-JRG Document 1-7 Filed 06/24/22 Page 4 of 4 PageID #: 656




10660-00001/13411604.1
